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                                                BEN CO




To whom it may concern,

Mr. Braun is employed at Ben co. Our location is close to his residence, and it has not
been a problem. We are relocating some equipment to another location that is 2 hours
away and Mr. Braun will need to deliver the equipment.
He may need to spend the night at this new location so his curfew will keep him from
work and doing the job we need. We hope you can help.


Sincerely, Ben co




                                                  PHONE
                                                            323)359-4914
                           South el monte
                                                            shotgunshock@yahoo.com
                           Ca 91733                EMAIL
                                                            Shotgunshock.com
                                                WEBSITE
